Case 2:20-cv-13134-LVP-RSW ECF No. 15, PageID.2090 Filed 11/30/20 Page 1 of 2




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Proposed Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
The Law Offices of Gregory Rohl            ERIC GRILL (P64713)
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__________________________________________________________________/

                       NOTICE OF APPEARANCE




                                  Page 1 of 2
Case 2:20-cv-13134-LVP-RSW ECF No. 15, PageID.2091 Filed 11/30/20 Page 2 of 2




      NOW COMES ANDREW A. PATERSON (P18690), who hereby

enters his appearance, in the above-captioned matter, as attorney for

Proposed Intervenor-Defendant Robert Davis.

Dated: November 30, 2020           Respectfully submitted,

                              /s/ ANDREW A. PATERSON
                              ANDREW A. PATERSON (P18690)
                              Attorney for Proposed Intervenor
                              Defendant Robert Davis
                              2893 E. Eisenhower
                              Ann Arbor, MI 48108
                              (248) 568-9712
                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 30th day of November, 2020, which will

automatically send notification of such filing to all attorneys and parties

of record registered electronically.

Dated: November 30, 2020           Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Proposed Intervenor
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                                  Page 2 of 2
